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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

   Case No.      CV 85-4544 DMG (AGRx)                                       Date     January 20, 2017

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   Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 KANE TIEN                                                   NOT REPORTED
                 Deputy Clerk                                                 Court Reporter

        Attorneys Present for Plaintiff(s)                          Attorneys Present for Defendant(s)
                 None Present                                                 None Present

   Proceedings: IN CHAMBERS - ORDER RE PLAINTIFFS’ MOTION TO ENFORCE
                [239]

                                                   I.
                                             INTRODUCTION

           On August 12, 2016, Plaintiffs Jenny L. Flores and other class members filed a motion to
   enforce the parties’ 19-year-old consent decree1 (“the Flores Agreement”) against Defendants
   Loretta Lynch and the U.S. Department of Homeland Security (“DHS”) and its subordinate
   entities, U.S. Immigration and Customs Enforcement (“ICE”) and U.S. Customs and Border
   Protection (“CBP”). (“Mot.”) [Doc. # 239.] Plaintiffs contend that the Flores Agreement
   “guarantee[s] children whom the Government refuses to release the right to a bond
   redetermination hearing . . . as a procedural check against wrongful detention.” Mot at 1.

          After having duly considered the parties’ written submissions and oral argument, the
   Court GRANTS Plaintiffs’ motion to enforce the Flores Agreement.

                                                II.
                                       FACTUAL BACKGROUND

   A.       Paragraph 24A of the Flores Agreement

          The Flores Agreement arose out of a settlement between class members—accompanied
   and unaccompanied immigrant minors detained by federal authorities at the United States’
   southern border—and Defendants in an action originally filed on July 11, 1985. See generally
   July 24, 2015 Order at 1-2 [Doc. # 177]; see also Flores v. Lynch, 828 F.3d 898, 901-904 (9th


           1
            See Plaintiffs’ First Set of Exhibits in Support of Motion to Enforce Settlement, Exh. 1 (“Flores
   Agreement”). [Doc. # 101.]

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   Cir. 2016) (providing history of the Flores litigation and affirming this Court’s finding that the
   Flores Agreement applies to accompanied and unaccompanied minors).

           Paragraph 24A of the Flores Agreement states: “A minor in deportation proceedings2
   shall be afforded a bond redetermination hearing before an immigration judge in every case,
   unless the minor indicates on the Notice of Custody Determination form that he or she refuses
   such a hearing.”3 Flores Agreement ¶ 24A.

           Paragraph 24A of the Flores Agreement appears to be consistent with the Immigration
   and Nationality Act. Section 236 of the INA gives the Attorney General authority to exercise
   discretion to release a detained alien on bond. 8 U.S.C. § 1226(a)-(b). This authority has been
   expressly delegated to immigration judges. See 8 C.F.R. §§ 1003.19; 1236.1(d). Thus,
   immigration judges may “exercise the authority in 236 of the [INA] . . . to detain the alien in
   custody, release the alien, and determine the amount of bond, if any, under which the respondent
   may be released[.]” 8 C.F.R. § 1236.1(d). Among other requirements, an alien in a custody
   determination must establish that he or she does not present a danger to persons or property and
   is not a flight risk. See, e.g., Matter of Guerra, 24 I & N Dec. 37, 38 (BIA 2006).

   B.      Post-Flores Agreement Statutes

          According to Defendants, Paragraph 24A no longer applies to unaccompanied minors
   because it has been superseded by two federal statutes enacted after the 1997 Flores Agreement:


           2
               According to Plaintiffs, administrative proceedings to determine a non-citizen’s right to remain in the
   United States have generally been re-designated as “removal,” rather than “deportation” proceedings. Mot. at 2 n.3
   (citing Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub.L. 104-208, Div C, § 309(a), 110
   Stat. 3009 (1996)). Defendants do not challenge this characterization. The Court will therefore treat “deportation
   proceedings” as written in the Flores Agreement as synonymous with “removal proceedings.”
           3
               Generally, “bond redetermination hearings” refer to an immigration judge’s review of any bond set by
   DHS or ICE shortly after it detains an undocumented immigrant. See 8 C.F.R. §§ 1003.19, 1236.1. The parties
   appear to use the terms “bond hearing” and “bond redetermination hearing” interchangeably, likely in part because
   Plaintiffs contend most affected class members never received a bond hearing to begin with. See Oral Tr. at 9/16/16
   (Defense counsel stating that the Department of Health and Human Services (“HHS”) generally does not issue
   bonds to unaccompanied minors) [Doc. # 259]. Defendants use only the term “bond hearing” throughout their
   opposition brief. See, e.g., Opp. at 5 (“The [Flores] Agreement provides that for minors in immigration proceedings,
   a bond hearing should be provided in all cases unless waived by the minor.”). While there is at least one example in
   the record of an unaccompanied minor receiving a $20,000 bond upon detention, see Declaration of Megan Stuart
   (“Stuart Decl.”) ¶ 17 [Doc. # 239-2], the Court will use the terms “bond hearing” and “bond redetermination
   hearing” interchangeably.

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   the Homeland Security Act of 2002 and the Trafficking Victims Protection Reauthorization Act
   of 2008.

           Under the Homeland Security Act, Congress transferred functions relating to the care and
   placement of unaccompanied children from the INS4 to the Director of Office of Refugee
   Resettlement (“ORR”) of the Department of Health and Human Services (“HHS”). 6 U.S.C.
   § 679(a). This includes functions like “coordinating and implementing the care and placement of
   unaccompanied alien children,” making placement determinations, and overseeing the facilities
   where certain unaccompanied children may reside. Id. § 679(b)(1). When it comes to making
   placement determinations, however, the Homeland Security Act requires ORR to coordinate
   efforts with other government entities (i.e., Bureau of Border Security and Bureau of Citizenship
   and Immigration Services). Id. § 679(b)(2). It also mandates that ORR “shall not release
   [unaccompanied alien] children upon their own recognizance.” Id.

           Like the Homeland Security Act, the TVPRA creates rules for how the government
   should handle unaccompanied alien children. For instance, under the TVPRA, “the care and
   custody of all unaccompanied alien children, including responsibility for their detention, where
   appropriate, shall be the responsibility of the Secretary of Health and Human Services,”
   consistent with the Homeland Security Act. See 8 U.S.C. § 1232(b)(1) (citing 6 U.S.C. § 279).
   The TVPRA requires HHS to promptly place unaccompanied children in the “least restrictive
   setting that is in the best interest of the child,” and consider “danger to self, danger to the
   community, and risk of flight.” Id. § 1232(c)(2)(A). Moreover, the TVPRA states children shall
   not be placed in secure facilities “absent a determination that the child poses a danger to self or
   others or has been charged with having committed a criminal offense.” Id.

   C.      Class Plaintiffs

          Plaintiffs submit declarations from class members or their attorneys illustrating how
   unaccompanied children have been denied bond hearings even though Defendants have
   commenced removal proceedings against them. For example, Hector Estiven Boteo Fajardo
   entered the United States when he was 15 or 16 years old and was arrested in San Ysidro,
   California. Declaration of Hector Estiven Boteo Fajardo (“Boteo Decl.”) ¶¶ 9-10 [Doc. # 239-3];
   Declaration of Helen Lawrence (“Lawrence Decl.”) ¶ 3, 23 [Doc. # 253.] Originally from
   Guatemala, his past experiences include being kidnapped by a coyote, suffering physical abuse

           4
               With passage of the Homeland Security Act, Congress abolished the INS and formed the Department of
   Homeland Security and the Immigration and Customs Enforcement (“ICE”), which, among other governmental
   entities, assumed the INS’s former immigration functions. 6 U.S.C. §§ 111, 251, 291.

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   from his extended family, and being exposed to gang violence and threats. Boteo Decl. ¶¶ 2-8.
   Boteo has a mother residing in Los Angeles. Lawrence Decl. ¶ 6. Yet, he is currently in a secure
   juvenile detention facility in Yolo County, California that is not licensed to care for dependent
   children. Id. ¶ 3; Mot., Ex. 15 at 4 (May 26, 2016 letter from Plaintiffs to Defendants) [Doc. #
   239-3]. The ORR has not provided Boteo’s attorney with an explanation for his ongoing
   detainment, which has now exceeded 13 months. Lawrence Decl. ¶¶ 3, 8-9. To date, as far as
   the Court is aware, Boteo has not been provided with a bond hearing. Id. ¶ 23; Ex. 15 at 3.

           According to class counsel, there are roughly 200 or 300 unaccompanied children
   currently detained by HHS/ORR in secure facilities nationwide. See Oral Tr. at 9/16/16.

                                                II.
                                         LEGAL STANDARD

          The Court incorporates the legal standard that it articulated in its July 24, 2015 Order and
   need not repeat it here. [Doc. # 177.]

                                                 III.
                                             DISCUSSION

   A.      Savings Clause

           The Homeland Security Act contains the following savings clause:

           Savings provisions. Subsections (a), (b), and (c) of section 1512 [6 USCS § 552]
           shall apply to a transfer of functions under this section in the same manner as such
           provisions apply to a transfer of functions under this Act to the Department of
           Homeland Security.

   6 U.S.C. § 279(f)(2) (brackets in original). Section 1512 in turn states:

           (a) Completed administrative actions.
             (1) Completed administrative actions of an agency shall not be affected by the
           enactment of this Act or the transfer of such agency to the Department, but shall
           continue in effect according to their terms until amended, modified, superseded,
           terminated, set aside, or revoked in accordance with law by an officer of the
           United States or a court of competent jurisdiction, or by operation of law.


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             (2) For purposes of paragraph (1), the term “completed administrative action”
           includes orders, determinations, rules, regulations, personnel actions, permits,
           agreements, grants, contracts, certificates, licenses, registrations, and privileges.

   6 U.S.C. § 552(a).

           Plaintiffs contend that these savings provisions, which the TVPRA incorporated, preserve
   Paragraph 24A of the Flores Agreement. Mot. at 11; 8 U.S.C. 1232(b)(1) (setting out standards
   for the care and custody of unaccompanied children “[c]onsistent with section 462 of the
   Homeland Security Act of 2002 (6 U.S.C. § 279)”). The Court agrees. The savings provisions
   expressly preserve the effect of existing “completed administration actions.” The Flores
   Agreement falls under this category—it is an agreement or contract. See 6 U.S.C. § 552(a)(2).
   Indeed, Defendants “do not dispute that the savings clause maintained the [Flores] Agreement in
   effect as a consent decree (for example, in creating a hierarchy for release to certain sponsors).”
   Opp. at 15 n.11.

          The next question then becomes whether Congress amended, modified, superseded,
   terminated, set aside, or revoked Paragraph 24A of the Flores Agreement by operation of law.
   See 6 U.S.C. § 552(a)(1). As discussed below, the Court finds that it did not.

   B.      Plain Language of Homeland Security Act and TVPRA

           Defendants argue that the savings clause “applies only to the extent it was not superseded
   or in conflict with subsequent laws” and “should not be viewed as rigidly freezing in place
   provisions aimed at the now defunct INS, or as creating free-standing authority for actions
   Congress did not authorize in either [the Homeland Security Act or the TVPRA].” Opp. at 15
   n.11. In essence, Defendants contend that because the TVPRA created an entirely new
   immigration framework for unaccompanied children—by, among other things, giving HHS the
   authority to evaluate custodial adults before releasing minors to them—it superseded Paragraph
   24A, such that unaccompanied children in HHS/ORR custody need not be provided with
   bonding hearings. See id. (describing the “different, child-welfare related function” served by
   HHS that is “not a part of the immigration enforcement scheme”).

          The problem with Defendants’ argument is that the TVPRA (as well as the Homeland
   Security Act) is silent on the subject of bond hearings or whether the safety and placement
   provisions replace bond hearing requirements. This silence is in stark contrast to federal
   immigration laws and regulations, which explicitly reference bond hearings. See 8 USC
   § 1226(a)(2) (immigrant detainee may be released on “bond of at least $1,500 with security

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   approved by, and containing conditions prescribed by, the Attorney General”); 8 C.F.R. 1003.19
   (describing applications for an “initial bond redetermination” and “for the exercise of authority
   to review bond determinations”); 8 C.F.R. 1236.1(d)(1) (“After an initial custody determination
   by the district director, including the setting of a bond, the respondent may . . . request
   amelioration of the conditions under which he or she may be released.”). The Court will not
   presume Congress intended to silently abrogate the Flores Agreement’s bond hearing provision
   in the absence of actual or express language relating to bonds. See Redmond-Issaquah R.R. Pres.
   Ass’n v. Surface Transp. Bd., 223 F.3d 1057, 1062 (9th Cir. 2000) (“Under established canons of
   statutory construction, ‘it will not be inferred that Congress, in revising and consolidating the
   laws, intended to change their effect unless such intention is clearly expressed.’”) (quoting
   Finley v. United States, 490 U.S. 545, 554 (1989)); In re Mark Anthony Const., Inc., 886 F.2d
   1101, 1107 (9th Cir. 1989) (stating that the rule articulated in Finley which “bars a court from
   construing a statute to have abrogated the common law, or to have established a new rule of law,
   without clear evidence in favor of such a construction . . . is firmly and sensibly entrenched in
   federal jurisprudence”); see also Radzanower v. Touche Ross & Co., 426 U.S. 148, 154 (1976)
   (“It is, of course, a cardinal principle of statutory construction that repeals by implication are not
   favored.”) (internal quotation marks and citation omitted).

            To be sure, the TVPRA addresses the safety and secure placement of unaccompanied
   children. See 8 U.S.C. § 1232(c)(2). In particular, Defendants hone in on the TVPRA provision
   requiring HHS to evaluate a proposed custodian’s ability to provide for the child’s physical and
   mental well-being before placing an unaccompanied child with that person or entity. Id.
   § 1232(c)(3). But identifying appropriate custodians and facilities for an unaccompanied child is
   not the same as answering the threshold question of whether the child should be detained in the
   first place—that is for an immigration judge at a bond hearing to decide. See 8 U.S.C. § 1226; 8
   C.F.R. §§ 1003.19; 1236.1(d). Assuming an immigration judge reduces a child’s bond, or
   decides he or she presents no flight risk or danger such that he needs to remain in HHS/ORR
   custody, HHS can still exercise its coordination and placement duties under the TVPRA.5 The
   Court sees no conflict between the TVPRA’s requirements and Paragraph 24A of the Flores

           5
             Defendants argue that the TVPRA’s provisions involving review of potential custodians are “inconsistent
   with the scheme proposed by Plaintiffs in which an immigration judge could order [an unaccompanied alien child]
   released even where HHS has determined that no suitable custodian is available to take custody of the [child].”
   Opp. at 16. Not so. If the initial proposed custodian is unfit to care for the unaccompanied child under the TVPRA,
   Defendants should follow Paragraph 14 of the Flores Agreement, which outlines an order of preference for the
   minor’s release, in order to effectuate the least restrictive form of detention. Flores Agreement ¶ 14 (order of
   preference begins with the parent, followed by a legal guardian, an adult relative (brother, sister, aunt, uncle,
   grandparent), an adult individual or entity designated by the parent or legal guardian, a licensed program willing to
   accept legal custody, and ending with an adult individual or entity seeking custody).

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   Agreement. Cf. Radzanower, 426 U.S. at 154 (recognizing repeal by implication occurs when
   the legislature’s intent is “clear and manifest” and where either “provisions in the two acts are in
   irreconcilable conflict” or where “the later act covers the whole subject of the earlier one and is
   clearly intended as a substitute”). What is more, nothing in the text of the TVPRA suggests it is
   intended to cover the whole immigration scheme for unaccompanied minors. In fact, the
   TVPRA specifically states that the care and custody of unaccompanied children must be
   consistent with the Homeland Security Act. See supra, section III.A.

           In short, the bond hearing provision of the Flores Agreement was not superseded by
   operation of law because both the TVPRA and the Homeland Security Act are silent on the
   subject of bond hearings. Moreover, the Flores Agreement remains consistent with federal
   immigration laws requiring bond hearings for immigrant detainees, and poses no irreconcilable
   conflict with the TVPRA’s safety and placement provisions.

   C.      Canon of Constitutional Avoidance

           Under the canon of constitutional avoidance, if it is “fairly possible” for a court to
   interpret a statute in a way that avoids raising serious constitutional problems, it must do.
   Nadarajah v. Gonzales, 443 F.3d 1069, 1076 (9th Cir. 2006) (citing INS v. St. Cyr, 533 U.S. 289,
   299-300 (2001)). “It is well established that the Fifth Amendment entitles aliens to due process
   of law in deportation proceedings.” Reno v. Flores, 507 U.S. 292, 306 (1993); see also Zadvydas
   v. Davis, 533 U.S. 678, 693 (2001) (“[T]he Due Process Clause applies to all ‘persons’ within
   the United States, including aliens, whether their presence here is lawful, unlawful, temporary, or
   permanent.”).

           Here, Defendants ask the Court to construe the TVPRA in a way that could run afoul of
   the Constitution. That is, Defendants want this Court to construe the TVPRA in a way that could
   result in the indefinite detention of unaccompanied children without the due process protection
   offered to adult detainees through a bond hearing. See Rodriguez v. Robbins, 804 F.3d 1060,
   1081-84 (9th Cir. 2015) (adults in immigration custody may not be subjected to prolonged
   detention (more than six months) without a bond hearing), cert. granted sub nom. Jennings v.
   Rodriguez, 136 S. Ct. 2489 (2016). Indeed, as Boteo’s case illustrates, there is evidence that
   minors have been languishing in secured, unlicensed detention facilities for over a year without a
   bond hearing and with no requirement that ORR/HHS justify the detainment. Cf. Singh v.
   Holder, 638 F.3d 1196, 1203-04 (9th Cir. 2011) (due process requires the government prove by
   clear and convincing evidence in a bond hearing that a detainee presents a flight risk or danger to
   the community). Boteo is looking forward to his 18th birthday, but not so that he can enjoy the
   newfound freedoms that traditionally come with casting off the shackles of adolescence. Rather,

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   for him, entering adulthood means he will be eligible for a bond hearing, a process afforded only
   to adults under Defendants’ proposed construction. See Lawrence Decl. ¶ 23; see also
   Declaration of Bryan Ortiz Vela ¶¶ 3, 17, 19 (spending two or three months in a secure ORR
   detention facility without a bond hearing but transferred to ICE custody on his 18th birthday and
   subsequently released on bond after a hearing before an immigration judge).

          Given this anomalous result, the Court will not construe the TVPRA in the way that
   Defendants suggest. An alternative construction exists that avoids the due process problems
   discussed above. See supra, sections III.A and III.B.

                                               IV.
                                           CONCLUSION

           In light of the foregoing, the Court finds that Defendants are in breach of the Flores
   Agreement by denying unaccompanied immigrant children the right to a bond hearing.
   Plaintiffs’ motion to enforce Paragraph 24A of the Flores Agreement is GRANTED. Defendant
   Office of Refugee Resettlement of the Department of Health and Human Services shall forthwith
   comply with Paragraph 24A of the Flores Agreement.

   IT IS SO ORDERED.




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